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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS,
 et al.,

     Plaintiffs,

     v.                                                             Case No.: 1:25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.



             MOTION FOR A STAY OF AGENCY ACTION UNDER 5 U.S.C. § 705

          Plaintiffs Coalition for Humane Immigrant Rights (“CHIRLA”), CASA, Inc. (“CASA”),

and UndocuBlack Network (“UndocuBlack”) respectfully move under 5 U.S.C. § 705 of the

Administrative Procedure Act (“APA”) to stay the effective date of agency actions. Plaintiffs seek

an order immediately postponing and staying the effective dates of implementation and

enforcement of the January 23 Huffman Memorandum, February 18 ICE Directive, and March 25

Parole Termination Notice for Cubans, Haitians, Nicaraguans, and Venezuelans (CHNV) insofar

as they subject individuals who have previously been granted parole at ports of entry to expedited

removal. Defendants oppose this motion.

          Plaintiffs file this motion to stop the irreparable harm that their members, their members’

families and communities, and the public are suffering due to the agency actions. In recent weeks,

Defendants have aggressively targeted for expedited removal individuals who entered the country

lawfully after being inspected and paroled at official ports of entry, including by moving to dismiss

their ongoing removal proceedings in immigration courts across the country. Paroled individuals
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showing up to routine court appearances are being unexpectedly arrested and detained once their

proceedings have been dismissed—and occasionally when proceedings have not been dismissed—

and are then placed in a rapid, summary deportation process (or threatened with such placement)

despite the fact that they have been dutifully appearing for court hearings and, in many cases,

timely filed applications for asylum or other immigration relief. Plaintiffs’ members already have

been subjected to serious harm by Defendants’ actions, and other members of the Plaintiff

organizations who were paroled into the country at ports of entry are at imminent risk of being

similarly subjected to expedited removal in violation of the law. Defendants’ actions, pursuant to

the January 23 Huffman Memorandum, February 18 ICE Directive, and March 25 CHNV Parole

Termination Notice, are unlawful and place Plaintiffs’ members at risk of deportation without due

process, loss of immigration relief for which they are eligible, and separation from their families

and lives in the United States.

       This Motion is based upon this Motion; the accompanying Memorandum of Law; the

supporting declarations and evidence filed concurrently herewith; the pleadings and filings in this

case; any additional matter of which the Court may take judicial notice; and such further evidence

or argument as may be presented before, at, or after a hearing on this Motion.

       A proposed order is attached hereto.

                             REQUEST FOR ORAL ARGUMENT

Plaintiffs respectfully request an oral argument pursuant to Local Rule 7(f) on this Motion.



 Dated: June 11, 2025                         Respectfully submitted,

                                              /s/ Esther H. Sung
                                              Esther H. Sung (CA00132)
                                              Karen C. Tumlin (CA00129)



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                            Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE
      I hereby certify on June 11, 2025, I caused a copy of the foregoing to be transmitted to all

Defendants through the CM/ECF filing system.

                                            /s/ Esther H. Sung
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